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				RE: REVISED CIVIL COVER SHEET2017 OK 65Decided: 09/11/2017THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2017 OK 65, __ P.3d __

				

NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 

&nbsp;


RE: Revised Civil Cover Sheet
Effective November 1, 2017, each district court shall adopt and use the attached civil cover sheet. This cover sheet shall accompany each party's initial filing in a civil case. The civil cover sheet is NOT to be filed nor made a part of the official court record, and is NOT to be viewable on www.OSCN.net or www.ODCR.com. The clerk of the court shall destroy each cover sheet within thirty (30) days after its receipt in the clerk's office.
The civil cover sheet set forth in this prior Court's Administrative Directive No. SCAD 2009-101 shall be retired on November 1, 2017.
Done by order of the Oklahoma Supreme Court in conference this 11th day of September, 2017.

/s/Chief Justice
Combs, C.J., Gurich, V.C.J., Watt, Winchester, Edmondson, Colbert, Reif, and Wyrick, JJ., concur;
Kauger, J., concurs in part and dissents in part.
&nbsp;
Revised Civil Cover Sheet




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